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                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
                                         SAN JOSE DIVISION
                                        Judge Edward J. Davila
                                         Courtroom 4 - 5th Floor
                                   Criminal Minute Order – Jury Trial
                                                                   TIME IN COURT: 3 hrs, 40 mins (select),
                                                                                          1 hr, 20 mins (trial)
                                                           ( 9:09-10:15, 10:30-12:00PM, 1:20 -2:25, 2:56 -4:15)

Date: August 25, 2015                                             U.S. Probation Officer: N/A
Courtroom Deputy: Elizabeth Garcia                                U.S. Pretrial Services Officer: N/A
Court Reporter: Irene Rodriguez                                   Interpreter: N/A

CASE NUMBER: 5:15-cr-00226-EJD
TITLE: USA v. Douglas Stroms York (NC)(P)
Government Attorney(s) present: Brianna Penna, Jeff Schenk
Defendant Attorney(s) present: Graham Archer

PROCEEDINGS: (1) Jury Selection, (2) Jury Trial

ORDER AFTER HEARING:
9:09 AM – 10:15 AM: Prospective panel summoned and sworn. The Court begins voir dire.
10:15 AM – 10:30 AM: The Court takes the morning recess.
10:30 AM – 10:40 AM: Continued voir dire by the Court. Side bar conferences were also held.
10:40 AM – 10:55 AM: The Court calls on counsel for the Government for voir dire.
10:55 AM - 11:20 AM: The Court calls on counsel for the defendant for voir dire.
11:20 AM – 11:40 AM: The parties execute preemptory challenges.
11:40 AM – 12:00 PM: Individuals excused and additional members called for voir dire.
12:00 PM – 1:20 PM: The Court and panel takes the lunch recess.
1:20 PM – 1:30 PM: Hearing held outside the prospective panel.
1:30 PM – 1:47 PM: Additional voir dire of the panel by the court.
1:47 PM – 2:15 PM: Additional preemptory challenges by counsel.
2:15 PM – 2:20 PM: Panel and alternates sworn. Jurors and remaining unused panel members excused.
2:20 PM – 2:25 PM: Brief hearing outside the presence of the jury.
2:25 PM – 2:56 PM: The Court takes the mid-afternoon recess.
2:56 PM – 3:10 PM: The Court preliminary instructs the jury.
3:10 PM – 3:20 PM: The Court calls on counsel for the government for opening statements.
3:20 PM – 3:25 PM: The Court calls on counsel for the defendant for opening statements.
3:25 PM- 4:09 PM: The Government calls Allan Hessenflow for direct examination. Side bar conferences also held.
4:09 PM – 4:15: Cross examination of A. Hessenflow. No redirect examination. Witness excused. Jury dismissed for
the evening recess.

Further Jury trial proceedings set for August 28, 2015 at 9:00 AM

Exhibits in Evidence: Govt: 4, 5, 8, 3



P/NP: Present, Not Present                                                                      Elizabeth C. Garcia
C/NC: Custody, Not in Custody                                                                   Courtroom Deputy
I: Interpreter                                                                                      Original: Efiled
                                                                                                               CC:
